          Case 25-40976             Doc 1           Filed 03/23/25 Entered 03/23/25 22:04:32                              Main Document
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Eastern
 ____________________             Missouri
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           23andMe Holding Co.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             VG Acquisition Corp.
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                8 ___
                                              ___ 7 –- ___1 ___
                                                             2 ___
                                                                4 ___
                                                                   0 ___
                                                                      3 ___
                                                                         4 ___
                                                                            4
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                               870 Market Street, Room 415
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                               San Francisco,         CA           94102
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code

                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              San Francisco County
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://www.23andme.com/
                                              ______________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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Debtor        23andMe Holding Co.
              _______________________________________________________                        Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                 6 ___
                                               ___  2 ___
                                                       1 ___
                                                          5

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                               insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                               4/01/25 and every 3 years after that).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet, statement
                                                               of operations, cash-flow statement, and federal income tax return or if all of these
                                                               documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                           The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                               chooses to proceed under Subchapter V of Chapter 11.

                                                            A plan is being filed with this petition.
                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                           Chapter 12
 9.   Were prior bankruptcy cases          No
      filed by or against the debtor
      within the last 8 years?             Yes. District _______________________ When _______________ Case number _________________________
                                                                                               MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                 District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY


 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 2
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Debtor                23andMe Holding Co.
                      _______________________________________________________                                       Case number (if known)_____________________________________
                      Name



    10. Are any bankruptcy cases                                  No
        pending or being filed by a
        business partner or an                                    Yes. Debtor _____________________________________________
                                                                                See Schedule 1                                             Affiliate
                                                                                                                             Relationship _________________________
        affiliate of the debtor?                                                     Eastern District of Missouri
                                                                           District _____________________________________________ When               __________________
        List all cases. If more than 1,                                                                                                              MM / DD / YYYY
        attach a separate list.                                            Case number, if known ________________________________



    11. Why is the case filed in this                            Check all that apply:
        district?
                                                                  Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                                    immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                                    district.

                                                                  A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

    12. Does the debtor own or have                               No
        possession of any real                                    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                                             Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                                          It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                                              What is the hazard? _____________________________________________________________________

                                                                          It needs to be physically secured or protected from the weather.
                                                                          It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                                              attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                                              assets or other options).

                                                                          Other _______________________________________________________________________________


                                                                         Where is the property?_____________________________________________________________________
                                                                                                    Number          Street

                                                                                                    ____________________________________________________________________

                                                                                                    _______________________________________         _______ ________________
                                                                                                    City                                            State ZIP Code


                                                                         Is the property insured?

                                                                          No
                                                                          Yes. Insurance agency ____________________________________________________________________
                                                                                   Contact name     ____________________________________________________________________

                                                                                   Phone            ________________________________




                    Statistical and administrative information



    13. Debtor’s estimation of                                   Check one:
        available funds                                           Funds will be available for distribution to unsecured creditors.
                                                                  After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                                                  1-49                            1,000-5,000                              25,001-50,000
    14. Estimated number of
                                                                  50-99                           5,001-10,000                             50,001-100,000
        creditors1
                                                                  100-199                         10,001-25,000                            More than 100,000
                                                                  200-999
______________________________________________________________
1
    The Debtors' Estimated Number of Creditors is provided on a consolidated basis.

    Official Form 201                                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor                23andMe Holding Co.
                      _______________________________________________________                                          Case number (if known)_____________________________________
                      Name



                                         2
                                                                 $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
  15. Estimated assets
                                                                 $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                                                 $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                                                 $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                              3
                                                                 $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
  16. Estimated liabilities
                                                                 $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                                                 $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                                                 $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


                    Request for Relief, Declaration, and Signatures


  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
             $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


  17. Declaration and signature of                                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
        authorized representative of
                                                                    petition.
        debtor
                                                                   I have been authorized to file this petition on behalf of the debtor.

                                                                   I have examined the information in this petition and have a reasonable belief that the information is true and
                                                                    correct.


                                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                                                 03/23/2025
                                                                    Executed on _________________
                                                                                MM / DD / YYYY


                                                                 /s/ Matthew E. Kvarda
                                                                    _____________________________________________                 Matthew E. Kvarda
                                                                                                                                 _______________________________________________
                                                                    Signature of authorized representative of debtor             Printed name

                                                                           Chief Restructuring Officer
                                                                    Title _________________________________________




  18. Signature of attorney
                                                                 /s/ Thomas H. Riske
                                                                    _____________________________________________                Date        03/23/2025
                                                                                                                                            _________________
                                                                    Signature of attorney for debtor                                        MM     / DD / YYYY



                                                                    Thomas H. Riske
                                                                    _________________________________________________________________________________________________
                                                                    Printed name
                                                                    Carmody MacDonald P.C.
                                                                    _________________________________________________________________________________________________
                                                                    Firm name
                                                                    120 S. Central Avenue, Suite 1800
                                                                    _________________________________________________________________________________________________
                                                                    Number     Street
                                                                    St. Louis
                                                                    ____________________________________________________             MO
                                                                                                                                    ____________ 63105
                                                                                                                                                 ______________________________
                                                                    City                                                            State        ZIP Code

                                                                    (314) 854-8600
                                                                    ____________________________________                             thr@carmodymacdonald.com
                                                                                                                                    __________________________________________
                                                                    Contact phone                                                   Email address



                                                                    61838
                                                                    ______________________________________________________ MO
                                                                                                                           ____________
                                                                    Bar number                                             State

_____________________________________________________________
 2
      The Debtors' estimated assets are provided on a consolidated basis.
 3
      The Debtors' estimated liabilities are provided on a consolidated basis.

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                                             Schedule 1

                                         Affiliated Entities

         On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case, collectively, the “Debtors”) filed a voluntary petition for relief under chapter 11
of title 11 of the United States Code, §§ 101 et seq. in the United States Bankruptcy Court for the
Eastern District of Missouri. The Debtors have filed a motion requesting that the chapter 11 cases
of these entities be consolidated for procedural purposes only and jointly administered pursuant to
Rule 1015(b) of the Federal Rules of Bankruptcy Procedure.

                             DEBTOR NAME                                      EIN NUMBER


       1.     23andMe Holding Co.                                               XX-XXXXXXX
       2.     23andMe, Inc.                                                     XX-XXXXXXX
       3.     23andMe Pharmacy Holdings, Inc.                                   XX-XXXXXXX
       4.     Lemonaid Community Pharmacy, Inc.                                 XX-XXXXXXX
       5.     Lemonaid Health, Inc.                                             XX-XXXXXXX
       6.     Lemonaid Pharmacy Holdings Inc.                                   XX-XXXXXXX
       7.     LPharm CS LLC                                                     XX-XXXXXXX
       8.     LPharm INS LLC                                                    XX-XXXXXXX
       9.     LPharm RX LLC                                                     XX-XXXXXXX
       10.    LPRXOne LLC                                                       XX-XXXXXXX
       11.    LPRXThree LLC                                                     XX-XXXXXXX
       12.    LPRXTwo LLC                                                       XX-XXXXXXX
       Case 25-40976                        Doc 1 81,7('67$7(6%$1.5837&<&2857
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                                                    ($67(51',675,&72)0,66285,
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Official Form 201A (12/15)                   ($67(51',9,6,21
          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
       ,QUH
                                                                                                            &KDSWHU
       $1'0(+2/',1*&2HWDO
                                                                                                            &DVH1RBBBBBBB
                 'HEWRU
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                  Attachment to Voluntary Petition for Non-Individuals Filing for
                                                 Bankruptcy under Chapter 11

           1. If any of the debtor=s securities are registered under Section 12 of the Securities Exchange Act of
       1934, the SEC file number is _______________.
                                      0001804591


           2. The following financial data is the latest available information and refers to the debtor=s condition on
       ______________.
       December 31, 2024

              a. Total assets                                                                                        $ 277,422,000.00

              b. Total debts (including debts listed in 2.c., below)                                                 $ 214,702,000.00
              c. Debt securities held by more than 500 holders
                                                                                                                                         Approximate
                                                                                                                                         number of
                                                                                                                                         holders:

              secured G unsecured G subordinated                                            G      $
              secured G unsecured G subordinated                                            G      $
              secured G unsecured G subordinated                                            G      $
              secured G unsecured G subordinated                                            G      $
              secured G unsecured G subordinated                                            G      $
              G   Number of shares of preferred stock
              H   Number of shares common stock                                                                                        e.1. 20,340,344 (Class A)

                                                                                                                                          e.2. 7,099,035 (Class B)



              Comments, if any:



              3. Brief description of debtor=s business: The debtor is a genomics and biotechnology company that provides direct-to-consumer
       DNA testing and telehealth services.




           4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
       5% or more of the voting securities of debtor:
       (i) ABeeC 2.0, LLC / Anne Wojcicki; (ii) GSK plc; and (iii) Zentree Investments Limited.




       7KHQXPEHURIVKDUHVRIFRPPRQVWRFNUHIOHFWVWKH'HEWRU VRXWVWDQGLQJFRPPRQVWRFNDVRI0DUFK




       Official Form 201A                            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION


    In re:                                                                Chapter 11

    23ANDME HOLDING CO.,                                                  Case No.: 25-______

                             Debtor.


                               LIST OF EQUITY SECURITY HOLDERS

             Pursuant to rule 1007(a) of the Federal Rules of Bankruptcy Procedure, the debtor

respectfully represents that the below chart identifies the holders of the debtor’s equity interests

and sets forth the nature and percentage of such interests held as of the filing of the debtor’s chapter

11 petition:

              Equity Holders           Percentage of Equity Held 1            Mailing Address of Equity
                                                                                       Holder
       ABeeC 2.0, LLC / Anne          18.66%                               71 Main Street, Suite 259
       Wojcicki                                                            Los Altos, CA 94022
       Zentree Investments            9.6%                                 18 Robinson Road
       Limited                                                             Level 15-01
                                                                           Singapore 048547
       GSK plc                        7.23%                                980 Great West Road
                                                                           Brentford, Middlesex, TW8 9GS
                                                                           United Kingdom




1
      This list reflects holders of five percent or more of the debtor’s common stock. The debtor does not and cannot
      know the precise holdings or identity of the holders of its publicly held common stock. Thus, by separate motion
      filed contemporaneously herewith, the debtors are requesting a waiver of the requirement under rule 1007 to file
      a list of all its equity security holders.
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      Fill in this information to identify the case:
      Debtor name: 23andMe Holding Co.
      United States Bankruptcy Court for the: Eastern District of Missouri

      Case number (If known): ______________                                                                                                                                                     ¨ Check if this is an amended
                                                                                                                                                                                                   filing

      Official Form 204
      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
      12/15

      A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11
      U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.




                                                                                                                                                                                                    Amount of unsecured claim
                                                                                                                                                                                                    if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                                        Nature of the claim (for
                                                                                                                                                                               Indicate if claim is If claim is partially secured, fill in total claim amount and deduction
                                                                                                                                         example, trade debts,
         Name of creditor and complete mailing address,                                                                                                                           contingent,       for value of collateral or setoff to calculate unsecured claim.
                                                                         Name, telephone number, and email address of creditor contact bank loans, professional
                       including zip code                                                                                                                                       unliquidated, or
                                                                                                                                       services, and government
                                                                                                                                                                                    disputed
                                                                                                                                               contracts)                                                 Total claim, if        Deduction for value
                                                                                                                                                                                                                                                           Unsecured claim
                                                                                                                                                                                                        partially secured       of collateral or setoff


    NGI LABCORP (NATIONAL GENETICS INSTITUTE)
                                                                         ADAM SCHECHTER
    2440 S SEPULVEDA BLVD
                                                                         CEO
  1 SUITE 100                                                                                                                                   TRADE CLAIM                                                                                            $          1,193,437
                                                                         EMAIL - SCHECHA@LABCORP.COM
    LOS ANGELES, CA 90064
                                                                         PHONE - (800) 343-4407
    UNITED STATES




      JELLYFISH US LIMITED                                               NICK EMERY
      1201 WILLS ST., SUITE 600                                          CEO
  2                                                                                                                                             TRADE CLAIM                                                                                            $           382,544
      BALTIMORE, MD 21231                                                EMAIL - NICK.EMERY@JELLYFISH.COM
      UNITED STATES                                                      PHONE - +44 20 3970 0248




      BLUE SHIELD OF CALIFORNIA
                                                                         LOIS QUAM
      PO BOX 749415
  3                                                                      CEO                                                                    TRADE CLAIM                                                                                            $           339,925
      LOS ANGELES, CA 90074-9415
                                                                         PHONE - (844) 831-4133
      UNITED STATES




      KAISER FOUNDATION HEALTH PLAN NORTHERN CA                          DREW ALTMAN
      FILE 5915                                                          PRESIDENT & CEO
  4                                                                                                                                             TRADE CLAIM                                                                                            $           205,155
      LOS ANGELES, CA 90074-5915                                         EMAIL - DALTMAN@KFF.ORG
      UNITED STATES                                                      PHONE - (650) 854-9400




      POWER DIGITAL MARKETING, INC.                                      JOHN TAUMOEPEAU
      2251 SAN DIEGO AVENUE, SUITE A250                                  COO
  5                                                                                                                                             TRADE CLAIM                                                                                            $           194,506
      SAN DIEGO, CA 92110                                                EMAIL - JOHN@POWERDIGITALMARKETING.COM
      UNITED STATES                                                      PHONE - (503) 484-0548




      ALOM TECHNOLOGIES CORPORATION                                      HANNAH KAIN
      PO BOX 5040                                                        PRESIDENT & CEO
  6                                                                                                                                             TRADE CLAIM                                                                                            $           183,507
      SAN JOSE, CA 95150-5040                                            EMAIL - HKAIN@ALOM.COM
      UNITED STATES                                                      PHONE - (510) 360-3694




    KATIE COURIC MEDIA, LLC
                                                                         COURTNEY LITZ
    100 CROSBY ST
                                                                         EVP
  7 SUITE 301                                                                                                                                   TRADE CLAIM                                                                                            $           175,000
                                                                         EMAIL - COURTNEY@KATIECOURIC.COM
    NEW YORK, NY 10012
                                                                         PHONE - (212) 253-9493
    UNITED STATES



    DATASITE LLC
                                                                         RUSTY WILEY
    733 S MARQUETTE AVE
                                                                         CEO
  8 SUITE 600                                                                                                                                   TRADE CLAIM                                                                                            $           167,650
                                                                         EMAIL - RUSTY.WILEY@DATASITE.COM
    MINNEAPOLIS, MN 55402
                                                                         PHONE - (407) 352-2732
    UNITED STATES




      RIGHT SIDE UP LLC                                                  TYLER ELLISTON
      9901 BRODIE LANE SUITE 160, PMB 515                                CEO
  9                                                                                                                                             TRADE CLAIM                                                                                            $            84,645
      AUSTIN, TX 78748                                                   EMAIL - TYLER@RIGHTSIDEUP.COM
      UNITED STATES                                                      PHONE - (415) 882-7765




    WILSON SONSINI GOODRICH & ROSATI, PROFESSIONAL
                                                                         ARIELA TANNENBAUM
    CORPORATION
                                                                         CFO
 10 P.O.BOX 742866                                                                                                                              TRADE CLAIM                                                                                            $            60,441
                                                                         EMAIL - ATANNENBAUM@WSGR.COM
    LOS ANGELES, CA 90074-2866
                                                                         PHONE - (650) 493-9300
    UNITED STATES




Official Form 204                                                                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                              page 1
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      ADVANCED CHEMICAL TRANSPORT                 WALTER SINGER
      967 MABURY RD                               CEO
 11                                                                                                                    TRADE CLAIM                                              $         58,149
      SAN JOSE, CA 95133                          EMAIL - WSINGER@ACTENVIRO.COM
      UNITED STATES                               PHONE - (408) 548-5050




      221 N MATHILDA, LLC                         DAVE PICKERING
                                                                                                                                                     CONTINGENT,
      ONE MARKET PLAZA, SPEAR TOWER, SUITE 4125   CFO
 12                                                                                                                    CONTRACT REJECTION            UNLIQUIDATED,              UNDETERMINED
      SAN FRANCISCO, CA 94105                     EMAIL - DPICKERING@SPEARSTREETCAPITAL.COM
                                                                                                                                                     DISPUTED
      UNITED STATES                               PHONE - (415) 222-7420




      AGANITHA AI INC.                            VIKRAM DUVVOORI
      777 FIRST ST., #519                         CEO
 13                                                                                                                    TRADE CLAIM                   UNLIQUIDATED               UNDETERMINED
      GILROY, CA 95020-4918                       EMAIL - VIKRAMD@AGANITHA.AI
      UNITED STATES                               PHONE - (408) 523-8406




      ALLIED UNIVERSAL SECURITY SERVICES          TIM BRANDT
      P.O. BOX 828854                             CFO
 14                                                                                                                    TRADE CLAIM                   UNLIQUIDATED               UNDETERMINED
      PHILADELPHIA, PA 19182-8854                 EMAIL - TIM.BRANDT@AUS.COM
      UNITED STATES                               PHONE - (949) 713-6316




      BRAINTREE                                   JAMIE MILLER
      2211 NORTH FIRST STREET                     CFO & COO
 15                                                                                                                    TRADE CLAIM                   UNLIQUIDATED               UNDETERMINED
      SAN JOSE, CA 95131                          EMAIL - JMILLER@PAYPAL.COM
      UNITED STATES                               PHONE - (408) 967-1000




      CONVERGE TECHNOLOGY SOLUTIONS US, LLC       GREG BERARD
      P.O. BOX 23623                              CEO
 16                                                                                                                    TRADE CLAIM                   UNLIQUIDATED               UNDETERMINED
      NEW YORK, NY 10087-3623                     EMAIL - GBERARD@CONVERGETP.COM
      UNITED STATES                               PHONE - (678) 250-7123




    COREWEAVE, INC.
                                                  NITIN AGRAWAL
    101 EISENHOWER PARKWAY                                                                                                                           CONTINGENT,
                                                  CFO
 17 SUITE 106                                                                                                          CONTRACT REJECTION            UNLIQUIDATED,              UNDETERMINED
                                                  EMAIL - NITINAGRAWAL@COREWEAVE.COM
    ROSELAND, NJ 07068                                                                                                                               DISPUTED
                                                  PHONE - (917)-373-3740
    UNITED STATES




      DELTA DENTAL OF CALIFORNIA                  SARAH CHAVARRIA
      PO BOX 44460                                CEO
 18                                                                                                                    TRADE CLAIM                   UNLIQUIDATED               UNDETERMINED
      SAN FRANCISCO, CA 94144-0460                EMAIL - SCHAVARRIA@DELTA.ORG
      UNITED STATES                               PHONE - (800) 632-8555




      FULGENT THERAPEUTICS, LLC                   MING HSIEH
      P.O. BOX 748677                             CEO
 19                                                                                                                    TRADE CLAIM                   UNLIQUIDATED               UNDETERMINED
      LOS ANGELES, CA 90074-8677                  EMAIL - MINGHSIEH@FULGENTGENETICS.COM
      UNITED STATES                               PHONE - (503) 999-5576




      GOOGLE, INC. - ADWORDS                      SUNDAR PICHAI
      P.O. BOX 883654                             CEO
 20                                                                                                                    TRADE CLAIM                   UNLIQUIDATED               UNDETERMINED
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      UNITED STATES                               PHONE - (650) 253-0000




      JUICE MEDIA, INC.                           MARK ZAMUNER
      4094 GLENCOE AVE                            CEO
 21                                                                                                                    TRADE CLAIM                   UNLIQUIDATED               UNDETERMINED
      MARINA DEL REY, CA 90292                    EMAIL - MARK@JUICEMEDIA.IO
      UNITED STATES                               PHONE - (310) 439-5515




      KR OP TECH, LLC                             ANGELA AMAN
                                                                                                                                                     CONTINGENT,
      12200 WEST OLYMPIC BLVD., SUITE 200         CEO
 22                                                                                                                    CONTRACT REJECTION            UNLIQUIDATED,              UNDETERMINED
      LOS ANGELES, CA 90064                       EMAIL - AAMAN@KILROYREALTY.COM
                                                                                                                                                     DISPUTED
      UNITED STATES                               PHONE - (415) 808-6011




      LINKEDIN CORPORATION                        RYAN ROSLANSKY
      62228 COLLECTIONS CENTER DRIVE              CEO
 23                                                                                                                    TRADE CLAIM                   UNLIQUIDATED               UNDETERMINED
      CHICAGO, IL 60693-0622                      EMAIL - RROSLANSKY@LINKEDIN.COM
      UNITED STATES                               PHONE - (866) 533-4332




      META PLATFORMS, INC.                        MARK ZUCKERBURG
      15161 COLLECTIONS CENTER DRIVE              CEO
 24                                                                                                                    TRADE CLAIM                   UNLIQUIDATED               UNDETERMINED
      CHICAGO, IL 60693                           EMAIL - MARKZUCKERBURG@FB.COM
      UNITED STATES                               PHONE - (650) 543-4800




Official Form 204                                                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                             page 2
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      MOVIANTO                                    THOMAS CREUZBERGER
      KELTENWEG 70                                CEO
 25                                                                                                                    TRADE CLAIM                   UNLIQUIDATED               UNDETERMINED
      OSS, 5342 LP OSS                            EMAIL - THOMAS.CREUZBERGER@MOVIANTO.COM
      NETHERLANDS                                 PHONE - (31041) 240-6420


    MIGLIACCIO & RATHOD LLP
    412 H ST. NE
    WASHINGTON, DC 20002
                                                  NICHOLAS MIGLIACCIO, JASON RATHOD                                                                  CONTINGENT,
    UNITED STATES;
 26                                               EMAIL - NMIGLIACCIO@CLASSLAWDC.COM, JRATHOD@CLASSLAWDC.COM           PIXEL LITIGATION              UNLIQUIDATED,              UNDETERMINED
    201 SPEAR ST
                                                  PHONE - (202) 470-3510                                                                             DISPUTED
    UNIT 1100
    SAN FRANCISCO, CA 94105
    UNITED STATES


      SUREFOX NORTH AMERICAN                      JOSHUA SZOTT
      P.O. BOX 610028                             CEO
 27                                                                                                                    TRADE CLAIM                   UNLIQUIDATED               UNDETERMINED
      DALLAS, TX 75261                            EMAIL - JOSHUA.SZOTT@SUREFOX.COM
      UNITED STATES                               PHONE - (888) 767-7665




      TELUS INTERNATIONAL SERVICES LIMITED        MICHAEL RINGMAN
      VOXPRO HOUSE POINT VILLAGE EAST WALL ROAD   CIO
 28                                                                                                                    TRADE CLAIM                   UNLIQUIDATED               UNDETERMINED
      DUBLIN, 1 D01X7H6 CO.                       EMAIL - MICHAEL.RINGMAN@TELUSINTERNATIONAL.COM
      IRELAND                                     PHONE - (604) 327-2371




    WOOT SERVICES LLC
                                                  KENT STEWART
    4121 INTERNATIONAL PARKWAY
                                                  CEO
 29 SUITE 900                                                                                                          TRADE CLAIM                   UNLIQUIDATED               UNDETERMINED
                                                  EMAIL - KSTEWART@WOOT.COM
    CARROLLTON, TX 75007
                                                  PHONE - (214) 445-2848
    UNITED STATES




      WORKDAY, INC                                CARL ESCHENBACK
      P.O. BOX 886106                             CEO
 30                                                                                                                    TRADE CLAIM                   UNLIQUIDATED               UNDETERMINED
      LOS ANGELES, CA 90088-6106                  EMAIL - CARL.ESCHENBACH@WORKDAY.COM
      UNITED STATES                               PHONE - (925) 951-9522




Official Form 204                                                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                             page 3
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                                                              Pg 11 of 19
 Fill in this information to identify the case and this filing:


              23andMe Holding Co.
 Debtor Name __________________________________________________________________
                                         Eastern
 United States Bankruptcy Court for the: ______________________             Missouri
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                           List of Equity Security Holders, Corporate Ownership Statement, and List of Creditors Who
          Other document that requires a declaration__________________________________________________________________________________
                                                     Have the 30 Largest Unsecured Claims.




        I declare under penalty of perjury that the foregoing is true and correct.


                     03/23/2025
        Executed on ______________                          /s/ Matthew E. Kvarda
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Matthew E. Kvarda
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION


    In re:                                                                Chapter 11

    23ANDME HOLDING CO.,                                                  Case No.: 25-_______

                             Debtor.


                              CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a governmental unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interests:

                      Shareholder                             Approximate Percentage of Shares Held 1
    ABeeC 2.0, LLC / Anne Wojcicki                                                  18.66%

    Zentree Investments Limited                                                       9.6%

    GSK plc                                                                         7.23%




1
      This list reflects holders of five percent or more of the debtor’s common stock. The debtor does not and cannot
      know the precise holdings or identity of the holders of its publicly held common stock. Thus, by separate motion
      filed contemporaneously herewith, the debtors are requesting a waiver of the requirement under rule 1007 to file
      a list of all its equity security holders.
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                                   Omnibus Resolutions of

         The Special Committee of the Board of Directors of 23andMe Holding Co.

                                             -and-

            the Respective Governing Bodies of the 23andMe Group Companies

                                        March 21, 2025

                WHEREAS, (i) 23andMe Holding Co. (the “TopCo”) is a Delaware corporation
managed by a board of directors (the “TopCo Board”), (ii) each of 23andMe, Inc., Lemonaid
Health, Inc., 23andMe Pharmacy Holdings, Inc., and Lemonaid Pharmacy Holdings Inc.
(collectively, the “Delaware Corporations”) is a Delaware corporation managed by a board of
directors (collectively, the “Delaware Boards”), (iii) each of LPharm RX LLC, LPharm INS LLC,
and LPharm CS LLC (collectively, the “Delaware LLCs”) is a Delaware limited liability company
managed by its sole manager (collectively, the “Delaware Managers”), (iv) Lemonaid Community
Pharmacy, Inc. (“Lemonaid Community Pharmacy”) is a Missouri corporation managed by a
board of directors (the “Missouri Board”), and (v) each of LPRXOne LLC, LPRXTwo LLC, and
LPRXThree LLC (collectively, the “Missouri LLCs”) is a Missouri limited liability company
managed by its sole manager (the “Missouri Managers”);

                WHEREAS, the TopCo, the Delaware Corporations, the Delaware LLCs,
Lemonaid Community Pharmacy, and the Missouri LLCs are referred to herein collectively as the
“23andMe Group Companies” and each individually as a “23andMe Group Company,” and the
Delaware Boards, Delaware Managers, Missouri Board, and Missouri Managers are referred to
herein collectively as the “Governing Bodies” and each individually as the “Governing Body” in
respect of its applicable 23andMe Group Company;

             WHEREAS, on March 28, 2024, the TopCo Board adopted resolutions (the
“Special Committee Resolutions”) establishing a special committee of the TopCo Board (the
“Special Committee”) and designating three independent and disinterested directors of the TopCo
Board to serve as the members of the Special Committee (the “Initial Special Committee
Members”);

             WHEREAS, on September 17, 2024, all of the non-employee directors of the
TopCo Board, including the Initial Special Committee Members, resigned from the TopCo Board;

             WHEREAS, on October 28, 2024, each of Andre Fernandez, Jim Frankola, and
Mark Jensen were appointed as independent directors of the TopCo Board;

               WHEREAS, on November 2, 2024, the TopCo Board adopted resolutions
designating each of Andre Fernandez, Jim Frankola, and Mark Jensen as members of the Special
Committee and confirming that the Special Committee has and shall continue to have the authority,
duties, and power delegated to it in the Special Committee Resolutions;

             WHEREAS, pursuant to the TopCo Board’s Resolutions, dated March 7, 2025 (the
“March Resolutions”), the TopCo Board delegated to the Special Committee, to the fullest extent
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permitted by law, among other things, the power and authority of the TopCo Board to (i) authorize
the commencement of a case under chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) on behalf of the TopCo, (ii) take actions with respect to any Restructuring
Matter (as defined in the March Resolutions), (iii) engage professionals for the TopCo and/or the
Special Committee in connection with any Restructuring Matter, and (iv) take actions as the
Special Committee in its sole discretion deems necessary, advisable, or appropriate in connection
therewith;

        WHEREAS, the Special Committee has determined that the matters the Special
Committee is approving and authorizing herein, including (which word, for all purposes of these
resolutions, shall be interpreted to be followed by the words, “without limitation”) (i) the
commencement of the Bankruptcy Cases (as defined below) by the TopCo, (ii) the filing of the
Bidding Procedures Motion (as defined below), (iii) the conducting of the Marketing Process (as
defined below), (iv) the recommendation to the TopCo Board of the appointment of the Chief
Restructuring Officer (as defined below) and the entry into the CRO Agreement (as defined
below), and (v) the recommendation to the TopCo Board of the appointment of the New Director
(as defined below) to the TopCo Board and the Special Committee, in each case, constitute a
Restructuring Matter;

                WHEREAS, the Special Committee and each Governing Body has reviewed and
considered the financial and operational condition of their respective 23andMe Group Company
and of the 23andMe Group Companies as a whole, including the historical performance of the
23andMe Group Companies, the assets of the 23andMe Group Companies, the current and long-
term liabilities of the 23andMe Group Companies, and relevant industry and market conditions,
and have considered various alternatives in respect of such matters;

                WHEREAS, the Special Committee and each Governing Body has had an
opportunity to consult with the management and the legal, financial, and other outside professional
advisors of the 23andMe Group Companies to fully consider each of the strategic alternatives
available to the 23andMe Group Companies;

               WHEREAS, the Special Committee and each Governing Body has received,
reviewed, and considered the recommendations of, and the materials presented by, the senior
management of its applicable 23andMe Group Company and such 23andMe Group Company’s
legal, financial, and other outside professional advisors as to the financial condition of its
applicable 23andMe Group Company and the 23andMe Group Companies and the relative risks
and benefits of pursuing a case under the provisions of chapter 11 of the Bankruptcy Code;

                WHEREAS, the Special Committee and each Governing Body reasonably believes
that its applicable 23andMe Group Company’s pursuing a case under the Bankruptcy Code on a
coordinated basis with the other 23andMe Group Companies is expected to preserve more value
for such 23andMe Group Company and its stakeholders than any other available alternative;

                WHEREAS, the intention of the Special Committee and each Governing Body
with respect to its applicable 23andMe Group Company is to use the Bankruptcy Code to conduct
a sale process for all or substantially all of the 23andMe Group Companies’ assets;


                                                2
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                WHEREAS, the Special Committee has determined that it is desirable and in the
best interests of the TopCo and its stakeholders to (i) recommend that the TopCo Board appoint
Mr. Matthew Kvarda to the office of the Chief Restructuring Officer of the TopCo and
(ii) authorize the TopCo to enter into an agreement (the “CRO Agreement”), on behalf of itself
and its subsidiaries, with Alvarez & Marsal North America, LLC (“A&M”) in order for A&M to
make its personnel available to provide certain management services to the 23andMe Group
Companies;

                WHEREAS, the Special Committee has determined that it is desirable and in the
best interests of the TopCo and its stakeholders to recommend that the TopCo Board appoint
Mr. Thomas Walper (the “New Director”) to the TopCo Board and designate the New Director as
a member of the Special Committee;

               WHEREAS, the Special Committee and the Governing Bodies have reviewed and
considered the need for Authorized Persons (as defined below) to take further actions to carry out
the intent and purpose of the following resolutions, perform the obligations of each 23andMe
Group Company under the Bankruptcy Code, and pay fees and expenses in connection with the
transactions contemplated by the below resolutions; and

                 WHEREAS, the Special Committee and the Governing Bodies have reviewed and
considered certain actions that may have previously been taken by any director, officer, employee,
or agent of the TopCo or any director, officer, employee, manager, member, stockholder, general
partner, or agent of any other 23andMe Group Company in connection with or related to the matter
set forth in the below resolutions.

               NOW, THEREFORE, BE IT:

               1. New Director Matters

              RESOLVED, that the Special Committee hereby recommends to the TopCo Board
the appointment of the New Director to the TopCo Board and designation of the New Director to
the Special Committee; and be it further

               2. Appointment of Chief Restructuring Officer

               RESOLVED, that the Special Committee hereby recommends to the TopCo Board
the appointment of Mr. Kvarda to the office of Chief Restructuring Officer of the TopCo,
consistent with the terms of the CRO Agreement; and be it further

                RESOLVED, that, upon the appointment of Mr. Kvarda as Chief Restructuring
Officer by the TopCo Board, the TopCo is authorized and directed to enter into the CRO
Agreement and to take any and all actions to advance the 23andMe Group Companies’ rights and
obligations in connection therewith, and any such prior actions are hereby ratified in their entirety;
and be it further

                RESOLVED, that the Special Committee and each Governing Body, acting with
respect to its applicable 23andMe Group Company hereby authorizes A&M to assign additional
personnel to support the Chief Restructuring Officer and the 23andMe Group Companies, to serve
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in various capacities with the 23andMe Group Companies and to perform other services required
of A&M pursuant to the CRO Agreement; and be it further

                3. Bankruptcy Resolutions

                        a. Chapter 11 Filings

                RESOLVED, that the Special Committee and each Governing Body, acting with
respect to its applicable 23andMe Group Company, hereby determines that it is desirable and in
the best interests of such 23andMe Group Company, its equity holders, its creditors, and other
parties in interest that such 23andMe Group Company file a voluntary petition for relief (the
“Petition” and, together with the similar petitions by all other 23andMe Group Companies, the
“Petitions”) and commence a case (collectively, the “Bankruptcy Cases”) under chapter 11 of the
Bankruptcy Code in the United States Bankruptcy Court for the Eastern District of Missouri (the
“Bankruptcy Court”); and be it further

                 RESOLVED, that the Special Committee and each Governing Body, acting with
respect to its applicable 23andMe Group Company, hereby authorizes, directs, and empowers any
officer or other authorized person of any of the 23andMe Group Companies, including the Chief
Restructuring Officer (each, an “Authorized Person”), acting in the name and on behalf of such
23andMe Group Company, to (i) execute and verify the Petition as well as all other ancillary
documents, and to cause the Petition to be filed with the Bankruptcy Court, and to make or cause
to be made prior to the execution thereof, any modifications to the Petition or ancillary documents,
and to (ii) execute, verify, and file or cause to be filed all of the petitions, schedules, lists, and other
motions, objections, replies, applications, and other papers or documents advisable, appropriate,
convenient, desirable, or necessary in connection with the foregoing; and be it further

                RESOLVED, that in connection with the filing of the Petitions, the Special
Committee and each Governing Body, acting with respect to its applicable 23andMe Group
Company, hereby (i) authorizes and directs the Authorized Persons, in the name and on behalf of
such 23andMe Group Company, to engage in discussions and negotiations with all stakeholders
in order to prosecute the Bankruptcy Cases, (ii) authorizes, adopts, and approves the form, terms,
and provisions of, and is hereby authorized and empowered to file with the Bankruptcy Court any
motions, pleadings, and any other documents to be performed or agreed to by such 23andMe Group
Company that are reasonably necessary for prosecution of and in connection with the proceedings
of the Bankruptcy Cases (collectively, the “Ancillary Documents”), and (iii) authorizes and directs
the Authorized Persons, in the name and on behalf of such 23andMe Group Company, to execute
and deliver (with such changes, additions, and modifications thereto as the Authorized Persons
executing the same shall approve, such approval to be conclusively evidenced by such Authorized
Persons’ execution and delivery thereof) each of the Ancillary Documents to which such 23andMe
Group Company is a party and, upon the execution and delivery thereof by each of the other parties
thereto, cause such 23andMe Group Company to perform its obligations thereunder; and be it
further




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                       b. Bidding Procedures Motion and Marketing Process

                RESOLVED, that in the judgment of the Special Committee and each Governing
Body, with respect to its applicable 23andMe Group Company, it is desirable and in the best
interests of each 23andMe Group Company, its creditors, and other parties in interest, that such
23andMe Group Company shall be, and hereby is, authorized to file with the Bankruptcy Court a
motion seeking approval of, among other things, (a) a sale of all or substantially all of the 23andMe
Group Company’ assets and (b) the proposed bidding and auction procedures pursuant to which
the 23andMe Group Companies will market their assets (the “Bidding Procedures Motion”); and
be it further

                RESOLVED, that in the judgment of the Special Committee and each Governing
Body, with respect to its applicable 23andMe Group Company, it is desirable and in the best
interests of each 23andMe Group Company, its creditors, and other parties in interest, that such
23andMe Group Company shall be, and hereby is, authorized to engage, under the direction of the
Special Committee, in a marketing process for the 23andMe Group Companies’ assets to identify
the highest or otherwise best offer for the 23andMe Group Companies’ assets (the “Marketing
Process”); and be it further

                RESOLVED, that each of the Authorized Persons be, and hereby is, authorized
and empowered to file the Bidding Procedures Motion, on behalf of each 23andMe Group
Company, and to pursue the Marketing Process under the direction of the Special Committee, and
to take any and all actions necessary or advisable to advance each 23andMe Group Company’s
rights and obligations thereunder, including filing of additional pleadings; and in connection
therewith, each Authorized Person, with power of delegation, is hereby authorized and directed to
take all necessary actions in furtherance of the foregoing resolutions; and be it further

                       c. Retention of Professionals

                 RESOLVED, that the Special Committee and each Governing Body, acting with
respect to its applicable 23andMe Group Company, hereby authorizes and directs each Authorized
Person, in the name and on behalf of such 23andMe Group Company, to employ certain individuals
and/or firms as counsel, professionals, consultants, accountants, restructuring advisors, or financial
advisors to such 23andMe Group Company as such Authorized Person, or any one of them, may
deem advisable, appropriate, convenient, desirable, or necessary to represent and assist such
23andMe Group Company in carrying out its duties under the Bankruptcy Code, and in connection
therewith, the Authorized Persons be, and each of them hereby is, authorized and directed, in the
name and on behalf of such 23andMe Group Company, to execute appropriate retention
agreements, pay appropriate retainers prior to the filing of the Petition, and to cause to be filed
appropriate applications for authority to retain the services of such individuals and firms; and be
it further

                 RESOLVED, that the Special Committee and each Governing Body, acting with
respect to its applicable 23andMe Group Company, hereby authorizes and directs each Authorized
Person, in the name and on behalf of such 23andMe Group Company, to employ the law firms of
Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul, Weiss”) and Carmody MacDonald P.C.
(“Carmody MacDonald”) to represent such 23andMe Group Company as chapter 11 counsel and

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to represent and assist such 23andMe Group Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance such 23andMe Group Company’s
rights, including the preparation of pleadings and filings in the Bankruptcy Cases; and in
connection therewith, the Authorized Persons be, and each of them hereby is, authorized and
directed, in the name and on behalf of such 23andMe Group Company, to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon the filing of the
Petition, and to cause to be filed an appropriate application for authority to retain the services of
Paul, Weiss and Carmody MacDonald; provided, that any prior actions taken in connection
therewith are hereby ratified in their entirety; and be it further

                RESOLVED, that the Special Committee hereby authorizes and directs each
Authorized Person to employ the law firms of Goodwin Procter LLP (“Goodwin”) and Lewis Rice
LLC (“Lewis Rice”) as special counsel to represent and assist the Special Committee, on behalf of
the TopCo, in carrying out its duties under the Bankruptcy Code, and to take any and all actions
to advance the TopCo’s rights; and in connection therewith, the Authorized Persons be, and each
of them hereby is, authorized and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the Petition, and to cause to be
filed an appropriate application for authority to retain the services of Goodwin and Lewis Rice;
provided, that any prior actions taken in connection therewith are hereby ratified in their entirety;
and be it further

                 RESOLVED, that the Special Committee and each Governing Body, acting with
respect to its applicable 23andMe Group Company, hereby authorizes and directs each Authorized
Person, in the name and on behalf of such 23andMe Group Company, to employ Moelis &
Company LLC (the “Investment Banker”) to act as financial advisor, capital markets advisor, and
investment banker for the Special Committee or such 23andMe Group Company and, in such
capacities, to provide certain financial advisory and investment banking services to the 23andMe
Group Companies with regard to the Bankruptcy Cases, effective immediately prior to the filing
of the Bankruptcy Cases at which time the Investment Banker’s prior engagement as advisor solely
to the Special Committee shall be terminated; and in connection therewith, the Authorized Persons
be, and each of them hereby is, authorized and directed, in the name and on behalf of such 23andMe
Group Company, to execute appropriate retention agreements, pay appropriate retainers prior to
and immediately upon the filing of the Petition, and to cause to be filed an appropriate application
for authority to retain the services of the Investment Banker; provided, that any prior actions taken
in connection therewith are hereby ratified in their entirety; and be it further

                 RESOLVED, that the Special Committee and each Governing Body, acting with
respect to its applicable 23andMe Group Company, hereby authorizes and directs each Authorized
Person, in the name and on behalf of such 23andMe Group Company, to employ A&M to make
(i) the Chief Restructuring Officer and (ii) certain A&M personnel available to provide certain
management services to the 23andMe Group Companies; and in connection therewith, the
Authorized Persons be, and each of them hereby is, authorized and directed, in the name and on
behalf of such 23andMe Group Company, to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the Petition, and to cause to be
filed an appropriate application for authority to retain A&M’s services; provided, that any prior
actions taken in connection therewith are hereby ratified in their entirety; and be it further


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                 RESOLVED, that the Special Committee and each Governing Body, acting with
respect to its applicable 23andMe Group Company, hereby authorizes and directs each Authorized
Person, in the name and on behalf of such 23andMe Group Company, to employ Kroll
Restructuring Administration Services LLC (the “Claims Agent”) to represent such 23andMe
Group Company and provide notice and claims agent services to such 23andMe Group Company
with regard to the Bankruptcy Cases; and in connection therewith, the Authorized Persons be, and
each of them hereby is, authorized and directed, in the name and on behalf of such 23andMe Group
Company, to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Petition, and to cause to be filed an appropriate application for
authority to retain the services of the Claims Agent; provided, that any prior actions taken in
connection therewith are hereby ratified in their entirety; and be it further

               4. General

                RESOLVED, that each of the Authorized Persons be, and each of them
individually hereby is, authorized, directed, and empowered from time to time in the name and on
behalf of each 23andMe Group Company, to (i) take such further actions and execute and deliver
such certificates, instruments, guaranties, notices, and documents as may be required or as such
Authorized Person or any one of them may deem advisable, appropriate, convenient, desirable, or
necessary to carry out the intent and purpose of the foregoing resolutions, including the execution
and delivery of any security agreements, pledges, financing statements, and the like, (ii) perform
the obligations of each 23andMe Group Company under the Bankruptcy Code, with all such
actions to be performed in such manner, and all such certificates, instruments, guaranties, notices,
and documents to be executed and delivered in such form, as the Authorized Person performing or
executing the same shall approve, and the performance or execution thereof by such Authorized
Person shall be conclusive evidence of the approval thereof by such Authorized Person and by
such 23andMe Group Company, and (iii) pay fees and expenses in connection with the transactions
contemplated by the foregoing resolutions; and be it further

                RESOLVED, that all actions previously taken by any director, officer, employee,
or agent of the TopCo or any director, officer, employee, manager, member, stockholder, general
partner, or agent of any other 23andMe Group Company in connection with or related to the
matters set forth in or reasonably contemplated or implied by the foregoing resolutions be, and
each of them hereby is, adopted, ratified, confirmed, and approved in all respects as the acts and
deeds of such 23andMe Group Company.

                             [Remainder of Page Intentionally Blank]




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